Case 4:25-cr-00007-RGE-HCA Document2_ Filed 01/23/25 Page 1of6

IN THE UNITED STATES DISTRICT COURT CLERK
FOR THE SOUTHERN DISTRICT OF IOWA SOUTHER STRICT Coun
F OWA
)
) Criminal No. 4:25-cr-007
UNITED STATES OF AMERICA, )
) INDICTMENT
v. )
) T. 18 U.S.C. § 922(a)(6)
DENIS NGUESSIN KOUAKOU, ) T. 18 U.S.C. § 924(a)(2)
also known as “Dennis Nguessin Kouakou,” ) T. 18 U.S.C. § 924(a)(1)(A)
) T. 18 U.S.C. § 924(d)
Defendant. ) T. 18 U.S.C. § 933(a)(1)
) T. 18 U.S.C. § 983(b)
) T. 18 U.S.C. § 934
) T. 28 U.S.C. § 2461(c)
)
THE GRAND JURY CHARGES:
COUNT 1

(False Statement During Purchase of a Firearm)

On or about December 30, 2022, in the Southern District of Iowa, the
defendant, DENIS NGUESSIN KOUAKOU, also known as “Dennis Nguessin
Kouakou,” in connection with the acquisition of a firearm, namely: a Glock, model 19
Gen5, nine-millimeter pistol, with serial number BXRD620, from Bass Pro Shops
Outdoor World #043 in Altoona, Iowa, a licensed dealer of firearms, knowingly made
a false and fictitious written statement which was intended and likely to deceive the
licensed dealer as to a fact material to the lawfulness of the acquisition of said
firearm. Specifically, the defendant falsely represented on Department of Justice,
Bureau of Alcohol, Tobacco, Firearms, and Explosives Form 4473, in response to
Question 21.a., that he was the actual transferee/buyer of the firearm listed on the

form.
Case 4:25-cr-00007-RGE-HCA Document2_ Filed 01/23/25 Page 2 of6

This is a violation of Title 18, United States Code, Sections 922(a)(6) and
924(a)(2).
THE GRAND JURY FURTHER CHARGES:

COUNT 2
(False Statement During Purchase of a Firearm)

On or about December 30, 2022, in the Southern District of Iowa, the
defendant, DENIS NGUESSIN KOUAKOU, also known as “Dennis Nguessin
Kouakou,” knowingly made a false statement and representation to Bass Pro Shops
Outdoor World #043 in Altoona, Iowa, a person licensed under the provisions of
Chapter 44 of Title 18, United States Code, with respect to information required by
the provisions of Chapter 44 of Title 18, United States Code, to be kept in the records
of Bass Pro Shops Outdoor World #043 in Altoona, Iowa. Specifically, the defendant
falsely represented on Department of Justice, Bureau of Alcohol, Tobacco, Firearms,
and Explosives Form 4478, in response to Question 21.a., that he was the actual
transferee/buyer of the firearm listed on the form.

This is a violation of Title 18, United States Code, Section 924(a)(1)(A).
Case 4:25-cr-00007-RGE-HCA Document2_ Filed 01/23/25 Page 3of6

THE GRAND JURY FURTHER CHARGES:

COUNT 3
(False Statement During Purchase of a Firearm)

On or about June 23, 2028, in the Southern District of Iowa, the defendant,
DENIS NGUESSIN KOUAKOU, also known as “Dennis Nguessin Kouakou,” in
connection with the acquisition of a firearm, namely: a Glock, model 19 Gen5d, nine-
millimeter pistol, with serial number CAAU912, from Bass Pro Shops Outdoor World
#043 in Altoona, Iowa, a licensed dealer of firearms, knowingly made a false and
fictitious written statement which was intended and likely to deceive the licensed
dealer as to a fact material to the lawfulness of the acquisition of said firearm.
Specifically, the defendant falsely represented on Department of Justice, Bureau of
Alcohol, Tobacco, Firearms, and Explosives Form 4473, in response to Question 21.a.,
that he was the actual transferee/buyer of the firearm listed on the form.

This is a violation of Title 18, United States Code, Sections 922(a)(6) and

924(a)(2).
Case 4:25-cr-00007-RGE-HCA Document2_ Filed 01/23/25 Page 4of6

THE GRAND JURY FURTHER CHARGES:

COUNT 4
(False Statement During Purchase of a Firearm)

On or about June 23, 2023, in the Southern District of Iowa, the defendant,
DENIS NGUESSIN KOUAKOU, also known as “Dennis Nguessin Kouakou,”
knowingly made a false statement and representation to Bass Pro Shops Outdoor
World #043 in Altoona, Iowa, a person licensed under the provisions of Chapter 44 of
Title 18, United States Code, with respect to information required by the provisions
of Chapter 44 of Title 18, United States Code, to be kept in the records of Bass Pro
Shops Outdoor World #048 in Altoona, Iowa. Specifically, the defendant falsely
represented on Department of Justice, Bureau of Alcohol, Tobacco, Firearms, and
Explosives Form 4473, in response to Question 21.a., that he was the actual
transferee/buyer of the firearm listed on the form.

This is a violation of Title 18, United States Code, Section 924(a)(1)(A).
Case 4:25-cr-00007-RGE-HCA Document2_ Filed 01/23/25 Page5of6

THE GRAND JURY FURTHER CHARGES:

COUNT 5
(Firearms Trafficking)

On a date unknown, but between June 23, 2023, and October 7, 2024, in the
Southern District of Iowa, the defendant, DENIS NGUESSIN KOUAKOU, also
known as “Dennis Nguessin Kouakou,” shipped, transported, transferred, caused to
be transported, or otherwise disposed of a firearm, namely: a Glock, model 19 Gend,
nine-millimeter pistol, with serial number CAAU912, in or affecting interstate or
foreign commerce, knowing or having reasonable cause to believe that the use,
carrying, or possession of a firearm by the recipient would constitute a felony.

This is a violation of Title 18, United States Code, Section 933(a)(1) and 933(b).
Case 4:25-cr-00007-RGE-HCA Document2_ Filed 01/23/25 Page 6 of 6

THE GRAND JURY FINDS:

NOTICE OF FORFEITURE

Upon conviction for the offense(s) alleged in Counts 1, 2, 3, 4, and/or 5 of this
Indictment, the defendant, DENIS NGUESSIN KOUAKOU, also known as “Dennis
Neguessin Kouakou,” shall forfeit to the United States, pursuant to Title 18, United
States Code, Sections 924(d) and 934, and Title 28, United States Code, Section
2461(c), all firearms, firearm parts, magazines, and ammunition involved in the
commission of said offenses, including, but not limited to, the firearms identified in
Counts 1, 2, 3, 4, and 5 of this Indictment.

This is pursuant to Title 18, United States Code, Sections 924(d) and 934, and
Title 28, United States Code, Section 2461(c).

A TRUE BILL.

FOREPERSON
Richard D. Westphal

By:

Kristin M. Herrera
Assistant United States Attorney

